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                                No. 10-13412-C


                    IN THE UNITED STATES COURT OF APPEALS
                           FOR THE ELEVENTH CIRCOIT


                      NICOLAS RAMOS-BARRIENTOS, ET AL.,

                                     Plaintiffs-Appellants,

                                       v.

                   DELBERT C. BLAND and BLAND FARMS, LLC,

                                     Defendants-Appellees .


              On Appeal from the United States Oistrict Court
                   for the Southern District of Georgia


                    BRIEF FOR THE SECRETARY OF LABOR AS
             AMICUS CURIAE IN SUPPORT OF PLAINTIFFS-APPELLANTS




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                      CERTIFICATE OF INTERESTED PERSONS
                     AND CORPORATE DISCLOSURE STATEMENT



            The Secretary of Labor believes that the Certificate

      of interested Persons filed by Appellants in their

      principal Brief is complete , other than the addition of the

      Secretary of Labor, as follows:



            Solis, Hilda L.   (Secretary, u.s. Department o f Labor,

      Amicus Curiae)




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                                 No. lO-13412-C


                    IN THE UNITED STATES COURT OF APPEALS
                           FOR THE ELEVENTH CIRCUIT


                      NICOLAS RAMOS-BARRIENTOS, ET AL.,

                                     Plaintiffs-Appellants,

                                        v.

                   DELBERT C. BLAND and BLAND FARMS, LLC,

                                      Defendants-Appellees.


              On Appeal from the United States District Court
                   for the Southern District of Georgia


                     BRIEF FOR THE SECRETARY OF LABOR AS
             AMICUS CURIAE IN SUPPORT OF PLAINTIFFS-APPELLANTS


          Pursuant to Federal Rule of Appellate Procedure 29(a), the

    Secretary of Labor ("Secretary") submits this brief as amicus

    curiae in support of Plaintiffs-Appellants with respect to

    whether the Fair Labor Standards Act ("FLSA" or "Act"), 29

    U.S.C. 201 et seq., permits H-2A employers to take credit toward

    the FLSA minimum wage for the cost of housing that they provide

    to their H-2A employees when the H- 2A program requires employers

    to provide such housing free of charge . 1



    1 The H- 2A visa program, see 8 U.S.C. 1 1 0 1 (a) (15) (H) (ii) (a) , is a
    voluntary program that allows employers to bring foreign workers
    into the United States in very limited circumstances , and only
    after the United States Department of Labor ("Departmen t ") has
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                              STATEMENT OF THE ISSUE

         Whether the district court erred when it held that ,

    pursuant to section 3(m) of the FLSA , 29 U.S . C . 203(rn), an

    employer may take credit toward the FLSA minimum wage for the

    cost of housing that the employer is obligated to furnish free

    of charge to agricultural employees working temporarily in the

    United States on H-2A visas.

                STATEMENT OF IDENTITY OF THE AMICUS CURIAE ,
                      INTEREST , AND AUTHOR I TY TO FILE

         The Secretary is responsible for the administration and

    enforcement of the FLSA .    See 29 U.S . C . 204(a) and (b), 216(c),

    and 217.    The Secretary also is responsible for the procedures

    employers must follow to obtain labor certifications authorizing

    the admission of H-2A workers, and for the enforcement of the H-

    2A program's worker protection provisions.        See 8 U . S.C .

    ll84(c) (1) and ll88 ; 20 C.F.R . Part 655, subpart B; 29 C.F.R .

    Part 501.   The Secretary has compelling reasons to participate

    as amicus curiae in this case, because she has a substantial

    interest in the correct interpretation of the FLSA to ensure

    that all employees receive the wages to which they are entitled.

    In particular, the Secretary is interested in the correct


    certified that there are not enough able and qualified U.S.
    workers available for the position , and that the employment of
    foreign workers will not adversely affect the wages and working
    conditions of workers in the U.S . who are similarly employed .
    See 8 U.S.C. ll88(a) (1); 20 C.F.R. 655.100.



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    interpretation of section 3{m) of the Act and the regulations

    interpreting it, including the requirements that employers may

    not shift their business expenses to employees and that

    employees must receive at least the minimum wage free and clear .

    See 29 C.F .R. 531.3, 531.32-.36.       The Secretary also has an

    int~rest   in ensuring that H-2A employers abide by the

    requirements of the H-2A visa program relating to employees'

    terms and conditions of employment , because employers must

    certify to the Department that they will comply with these

    requirements in order to obtain a labor certification

    authorizing their participation in the temporary nonimmigrant

    worker program.    See 20 C.F.R . 655 .1 35 .

         The Secretary submits this amicus brief pursuant to Federal

    Rule of Appellate Procedure 29(a).

                           THE DISTRICT COURT ' S DECISION

         1.    The H-2A employees in this case argued in the district

    court that Bland had not properly reimbursed them in the first

    workweek for certain inbound transportation , border crossing ,

    and other expenses that it had required them to bear , expenses

    that the employees asserted were primarily for the benefit of

    the employer. 2   See Ramos-Barrientos, et al. v . Bland, 2010 WL



    2 The Secretary 's participation as amicus is limited to the issue
    of whether an employer may take credit toward the FLSA minimum
    wage for housing it is required by law to provide free of
    charge .


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    2521041 , at *2 (S.D. Ga. 20 10).                 In response, Bland asserted

    that if it received credit under section 3(m) of the FLSA for

    the housing it furnished,      there was no shortfall in wages .                 Id .

    Noting the "dearth of case law u on paint, the district court

    rejected the argument that an H-2A employer may not take credit

    toward the FLSA minimum wage for housing that it must provide

    free of charge pursuant to the H-2A program and granted summary

    judgment to Bland .     Id . at *3 .

         2.   In so ruling , the court found the three cases the

    employees relied upon to be unhelpfu l.                  In two of those cases ,

    the courts concluded that the employers were not entitled under

    section 3(m) to take any credit for lodging that they furnished

    because the housing'had been provided in violation of state law .

    Thus , the court in Garcia v. Frog Island Seafood, Inc. , 644 F .

    Supp. 2d 696 (E.D.N . C. 2009) ,          deni ~ ny       credit for housing

    provided to H-2B workers because the employer had violated state

    law by failing to register with the state and to have the

    housing inspected prior to the employees '                 occupancy .     The court

    in Osias v. Marc , 700 F . Supp . 842 (D . Md . 1988) , similarly

    denied any wage credit for housing provided to domestic migrant

    farmworkers   cover~d   qy   the Migrant and Seasonal Agricultural

    Worker Protection Act ("MSPA      U
                                          )   ,   29 U. S . C . 180.1 , et seq., because

    the housing was found to be seriously substandard.                       The district

    court here distinguished these two cases , because there was no


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    argument that the housing Bland furnished was substandard or

    otherwise provided in violation of the law.        See Ramos -

    Barrientos, 2010 WL 2521041, at *4.

          The third case the employees relied upon was Marshall v.

    Glassboro Servo Ass'n, Inc., 1979 WL 1989 (D.N.J. 1979) , in

    which the court denied the employer the right to take any credit

    for housing provided to migrant farmworkers from Puerto Rico

    because a contract in the nature of a collective bargaining

    agreement, negotiated between the growers' association and the

    Commonwealth of Puerto Rico on behalf of the workers, required

    the employer to provide lodging at no cost .       Citing the

    statutory construction canon of expressio unius est exclusion

    alterius, the district court stated that Congress , in section

    3(m) , would not have limited the exclusion from wages to housing

    and facilities provided pursuant to a collective bargaining

    agreement if it intended an additional exclusion for situations

    where the employer agrees in an individual employment contract

    to provide housing at no cost.      See Ramos-Barrientos, 2010 WL

    2521041, at *4.

          3.   The district cou rt also rejected the employees'

    argument that allowing a wage credit u nder the FLSA would

    effective l y cause Bland to be in violation of the H-2A

    requirement to provide housing free of charge, stating that this

    argument "convolutes the distinct requirements that employers


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    must adhere to under the FLSA and under the Department of

    Labor's H-ZA program.            Defendants complied with H- 2A

    regulations when they provided free housing to Plaintiffs and

    other H-2A employees.     Defendants do not violate those

    regulations by taking a § 203(m) wage credit for the reasonable

    cost of housing provided to their employees, something that the

    FLSA permits them to do . "    Ramos-Barrientos, 2010 WL 2521041, at

    *4.   Therefore, the district court held that Bland was entitled

    under section 3(m) to take credit toward the FLSA minimum wage

    for the housing it provided its H-2A workers.         Id.   at *5.

                            SUMMARY OF THE ARGUMENT

          FLSA-covered employers are required to pay their non-exempt

    employees at least the minimum wage "free and clear'" for all

    hours worked.    See 29 U.S.C. 206(a); 29 C.F.R. 531.35.         In order

    to comply with the free and clear requirement, an employer may

    not take credit toward the minimum wage for the costs of

    furnishing facilities that are primarily for the benefit or

    convenience of the employer.      See 29 C.F.R . 531.3(d) (1).

    Employer business expenses, such as tools of the trade and

    uniforms required by the nature of the job, are primarily for

    the . benefit of the employer.    See 29 C<F.R. 531.3(d) (2).

    Similarly, expenses that an employer is required by law to pay,

    such as worker's compensation taxes or the employer's share of

    Social Security taxes, are business expenses that are primarily


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    for the benefit of the employer .         See 29 C. F.R . 531 .32(c) and

    531. 38.

            Because an H- 2A employer that brings foreign workers into

    the country to perform temporary agricultu ral labor or services

    is required to furnish housing free of charge pursuant to the

    terms of the H-2A visa program, see 8 U.S.C. 1188(c) (4) and 20

    C. F.R . 655.122(d) (1) , 3 such an expense is an H- 2A employer

    business expense.       This makes the employer the primary

    beneficiary of that housing expense for purposes of section

    3(m).      Thus , the H-2A requirement to furnish housing at no cost

    rebuts the presumption created by section 3(m) that an employer

    ordinarily may count toward the minimum wage the reasonable cost

    o f lodging for employees.

            Therefore , this Court should reverse the distric t court ' s

    decision because the district court erred by failing to conduct

    a primary beneficiary analysis under section 3(m) , and by

    concluding that an H-2A employer may take credi t toward the FLSA

    minimum wages due in the first workweek for the H- 2A required

    housing.      Su ch a reversal would be co nsi stent wi th this Court ' s

    decision in Arriaga v. Florida Pacific Farms, LLC, 305 F.3d


    3 The regulations governing the H-2A program were updated on
    February 1 2 , 2010 . See 75 Fed . Reg . 6884 . Because there have
    been no substant i ve cha ng es in the relevant H-2A regulations
    compa r ed to the regulations in effect during the time period
    covered by this case , the . citations in this brief refer to the
    current· version of the regulations.

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    1228, 1236 - 37 (11th Cir. 2002) , in which this Court held that

    where an expense is primarily for the benefit of the employer,

    the employer must reimburse the employees during the workweek in

    which the expense arose up . to the point that their wages satisfy

    the FLSA minimum wage .

                                     ARGUMENT

           HOUSING THAT AN H- 2A EMPLOYER IS OBLIGATED TO FURNISH FREE
           OF CHARGE TO ITS EMPLOYEES IS AN EMPLOYER BUSINESS EXPENSE
           AND THUS PRIMARILY FOR THE BENEFIT OF THE EMPLOYER

           A.   Statutory and Regulatory Background

           1.   The FLSA is a statute of broad remedial purpose.         See

    Rutherford Food Corp. v. McComb,         331 U.S. 722, 727 (1947).

    Congress    enacte~   the minimum wage provision of the FLSA to

    protect workers from substandard wages and to prevent labor

    conditions detrimental to the maintenance of the minimum

    standard of living necessary for the health, efficiency , and

    general well - being of workers.     See Barrentine v. Arkansas-Best

    Freight Sys . , Inc ., 450 U. S . 728 , 739 (1981); 29 U.S.C. 202(a) ,

    (b).    Therefore , the Supreme Court "has consistently construed

    the Act     'liberally to apply to the furthest reaches consistent

    with congressional direction'" in order to effectuate the broad

    remedial and humanitarian purposes of the Act.          Tony and Susan

    Alamo Foundation v. Secretary of Labor , 471 U.S . 290, 296 (1985)

    (quoting Mitchell v.      Lublin, McGaughy & Associates, 358 U.S.

    207, 211 (1959)).


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         2.     Section 6 of the FLSA requires covered employers to pay

    their nonexempt employees at least the minimum wage (currently

    $7 . 25 per hour) for each hour worked.         See 29 U. S . C . 206(a).

    Generally , employers must pay the wages due in cash and must pay

    the wages    ~free   and clear."   29 C . F.R . 531 . 35.   However, section

    3(ml of the FLSA provides that an employer also may count as

    wages "the reasonable cost , as determined by the Administrator

    [of the Wage and Hour Division], to the employer of furnishing

    such employee with board ,     lodging, or other facilities , if such

    board , lodging or other facilities are customarily furnished by

    such employer to his employees : Provided , That the cost of

    board , l odging , or other facilities shall not be included as a

    part of the wage paid to any employee fo the extent it is

    excluded therefrom under the terms of a bona fide collective-

    bargaining agreement applicable to the particular employee."                29

    U. S.C. 203(m).

         The implementing regulations provide that the "cost of

    furnishing 'facilities' found by the Administrator to be

    primarily for the benefit or convenience of the employer will

    not be recognized as reasonable and may not therefore be

    inc l uded in computing wages."      29 C .F-...R. 531.3(d) (1); see 29

    C . F . R. 531.32(c) and 29 C.F .R. 531.36(b); see also Arriaga, 305

    F.3d at 1241-44 (transportation and visa costs incurred by H- 2A

    employees are primarily for the benefit of the employer and must



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    be reimbursed up to the point that the employees '           wages satisfy

    the FLSA minimum wage); Soler v. G&U, Inc. and Secretary of

    Labor ,   833 F.2d 1104 , 1109 (2d Cir. 1987)     (applying the

    balancing of benefits test to lodging and holding that the test

    provides a common - sense and logical approach to resolve whether

    costs may be counted toward the payment of an employee ' s wage) .

    In applying this primary benefit test , the regulations

    specifically state that employer business expenses such as tools

    of the trade, other materials and services incidental to

    carrying on the employer ' s business, and uniforms required by

    the nature of the business are primarily for the convenience of

    the employer.      See 29 C.F.R. 53l.3(d) (2) .       The regulations

    similarly recognize that other employer business expenses , such

    as electric power used for commerci al production, company police

    and guard protection, and taxes and insurance on tpe employer's .

    buildings , are primarily fo r the benefit of the employer.             See

    29 C . F . R. 531.32(c) .

          Moreover , because an emp l oyer is not permitted to operate

    its business in violation of the law , expenses imposed on the

    employer by law also must be viewed as inherently for the

    primary benefit of the employer.          Thus, the    sect~on   3(m)

    regulations recognize that "medical services and hospitalization

    which the employer is bound t o furnish under workmen ' s

    compensation acts or similar Federal, State or local law" do not


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   qualify as facilities because they are primarily for the benefit

   of the employer .           29 C.F.R . 531.32(c) .         Furthermore, "[n]o

   deducti on may be made for any tax or share of a tax which the

    law requires to be borne by the employer."                      29 C . F.R. 531 . 38 .

    For example, legally-required employer expenses like the

   emp l oyer's share of Social Security taxes and its taxes for

    unemployment compensation do not qualify as wages under section

    3(m) .        See Williams v. Atlantic Coast Line Railroad Co . , 1 Wage

    and Hour Cases IBNA) 289 , 294              IE . D.N.C . 1940).      Finally , the

    regulations provide that "[f Jacilities furnished in violation of

    any Federal, State, or local law , ordinance or prohibition " will

   not be considered facilities               ' c ustomari l y '   furnished."     29

   C.F . R. 531.31; see Caro-Galvan v. Curtis Richardson; Inc. , 993

    F . 2d 1500, 1513 n . 29 111th Cir . 1993) .

             3.    The H- 2A program requires employers to furnish housing

    free of c harge to their H- 2A employees.                  The statute states that

    employers "sha l l furnish housing , " either by providing housing

    that meets applicable Federal safety standards or by securing

    housing that meets the l ocal standards for rental and/or public

   accommodations.            8 U. S.C . 1188(c) (4) .      The housing must be

    provided or secured "in accordance with regulati ons , " id"                        al).d

    the l egislative regulations implementing this requirement state

    that the "empl oyer must provide housing at no cost to the H- 2A

   workers . "        2 0 C . F . R. 655 . 122Id) (1).   The statute further


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    requires that the "determination as to whether the housing

    furnished by an employer for an H- 2A worker meets the

    requirements" of the statute must be made prior to the

    Secretary ' s decision whether to issue a labor certification

    allowing the employer to seek H-2A workers .          8 U. S . C .

    1188(c)(4).

          B.     Housing that an H-2A Employer is Required by Law to
                 Provide Free of Charge is an Employer Business Expense

          1.     The district court's decision is flawed because it

    fails to evaluate which party was the primary beneficiary of the

    housing that Bland was required by the H- 2A program to provide

    or secure free of charge.        See DeLuna-Guerrero v . North Carolina

    Grower's Ass'n, Inc ., 338 r . SUPP A 2d 649, 657 (E.D.N.C. 2004)

    (" [T]h e ultimate issue before the court is whether the (] costs

    here were primarily for the benefit or conve ni ence of the

    employer ." ) .

           As the regulations implementing section 3(m) demonstrate ,

    emp loyer business expenses must be viewed as primarily for the

    benefit of the employer.        This is true whether the business

    expense is a uniform or tool of the trade, see 29 C.F.R.

    531.3(d) (2) , or is an expense the empl oyer is required by law to

    bear, such as worker's compensation, unemployment compensation,

    or taxes .     See 29 C . F.R . 531 . 32(c) and 531.38.




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         The H-2A program requires employers to provide or secure

    housing for their H-2A employees that meets applicable safety

    standards.     See 8 U. S.C. 1188(e) (4) .    The employer must provide

    or secure that housing free of charge.           See 20 C.F.R.

    655.122(d) (1).    This requirement, unique to the H-2A program,

    renders the housing an employer business expense, as a matter of

    law, for purposes of section 3(m).           Additionally, the

    requirement for such free housing is an inherent and inevitable

    result of the employer's decision to participate in the H-2A

    program .    Cf . Arriaga , 305 F.3d at 1242.      The H-2A employees are

    foreign workers coming into the country for temporary

    employment .    They obviously will have no permanent housing of

    their own.     And their work for the H-2A farmers typically takes

    them to remote , rural locations, where their housing is under

    the control of their employers.        Further , these H-2A guest

    workers have limited rights when they arrive.           They may enter

    the country only for temporary agricultural employment of less

    than 12 months , absent extraordinary circumstances .            See 20

    C.F.R. 655 . 170(b) .   Moreover, they have no right to transfer to

    other U.S. employers , or to remain in the country if they quit

    or after their work contract period expires, unless they have

    secured subsequent temporary agricultural employment under the

    H-2A visa program .     See 20 C.F.R. 655 . 122(n) and 655 . 135(i).

    Given these circumstances, employers benefit far more than usual


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    from the expenses incident to the employment relationship, and

    employees benefit less than normal from the job .        Accordingly,

    the employer must be viewed as the primary beneficiary of this

    business expense under section 3(m) , and an H-2A employer may

    not take section 3(m) credit for such a legally required
               4
    expense.

          2.       The Wage and Hour Division ' s Field Operations Handbook

    ("FOH") specifically addresses the application of section 3(m)

    to lodging expenses in these particular circumstances.          The FOH

    states with regard to the wages of migrant and seasonal

    agricultural workers that an employer may generally take credit

    for "[l]odging used by a worker, including utility costs , unless


    4 The design of the H-2A program further confirms that the
    employer is the primary beneficiary of the required H-2A
    housing.    The program imposes significant obligations on
    employers who seek to bring foreign guest workers into the U. S .
    to perform temporary agricultural work.      For example, employers
    are obligated to follow a number of prescribed recruiting steps
     (e.g. , submit a job order to the appropriate State Workforce
    Agency for posting; advertise the job in the newspaper for at
    least two days, one of which must be a Sunday; and contact laid-
    off U.S. employees and offer them the job) . See 20 C . F . R.
    655 .1 21 and 655. 151-.1 53 . Employers also must offe~ and pay at
    least the prevailing wage or adverse effect wage rate ; offer
    full-time employment; and guarantee workers wages for at least
    three-quarters of the hours set forth in the work contract
    period.    See 20 C . F.R. 655.122(i), 655.122(1) and 655.135(f).
    The Department issues a labor certification authorizing
    employers to proceed with the H-2A "visa "program only if all
    these steps demonstrate both that there are not sufficient
    qualified U. S. workers available to the employer to perform the
    work , and that hiring H-2A workers will not adversely affect the
    wages "a nd working conditions of U.S. workers similarly employed .
    See 20 C.F .R. 655.100 and 655.103(a).



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    required to be provided free of charge pursuant to the

    employment contract or applicable law . "            FOH , 130c13(a) (4),

    www.dol . gov/whd/FOH (emphasis added)           (copies of the relevant

    pages of the FOH are attached in Addendum) .             The FOH also states

    that " ( I Jodging , l ike meals , is ordinarily considered for the

    benefit and convenience of the employee .             Circumstances may

    exist, however, where housing is of little benefit to employees ,

    as where an employer requires an employee to live on the

    employer ' s premises to meet some need of the employer, or where

    the employee must travel away from home to fUrther the

    employer's busi n ess."        FOH , '130c03(a) (2) ; cf . Skidmore v. Swift

    &   Co ., 323 U. S . 134 ,   137 (1944)   ("Living quarters may in some

    situations be furnished as a facility of the task and in anoth er

    as a part of its compensation.").              With regard to migrant and

    seasonal agricultural workers , the FOH states that no credit may

    be taken where : workers are required to live on the premises as

    a conditio n of employment or where for other reasons the housing

    primarily benefits the employer ; the hous i ng fails to meet

    substantive safety and health standard s and has been denied an

    occupancy permit; or MSPA civil money penalties have been

    assessed for a substantive safety and health yio l ation.              See

    FOH , nOc13(a) (4) (a) - (c) ; see also FOH , '130c02(b)       (facilities

    furnished in violation of any law, such as housing denied an

    occupancy permit or which resu l ted in MSPA civil mon ey


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   penalties, are n ot considered customarily furnished); 29 C . F.R .

    531 . 31   (same).

          3.    Other Wage and Hour Division guidance interpreting

   section 3(m) also provides support for the principle e nunciated

    in the FOH that an employer may not take credit for lodging

    required to be provided by law .        See Wage and Hour Opinion

   Letters dated August 19, 1997, 19 97 WL 998029 (stati ng with

    regard to the hiring of an employee on an au pair visa that "an

   employer may not take credit for fa cil ities which the employer

    is required by law or regulation to provide")          (copy attached in

   Addendum); June 16, 197 5 (where state law limits the housing

   credit to a maximum of $140 per month , even though the

    reasonable cost or fair value is $400 per month, "the law

   providing the greater compensation to the employee will prevail"

   and the state law will govern the amount of credit allowed in

   computing the wage pa id for FLSA minimum wage purposes)            (copy

   attached in Addendum); Sept . 18, 1959 ("Costs of medi cal care

    required to be furnished by law, such as by workmen ' s

   compensation laws , must be excluded.")         (copy attached in

   Addendum); and Oct. 12, 1943 ("The employer will be deemed to

    have received a benefit if the deduction [for a hospitalization

   prepayment plan] is used t o pay for hospitalization for whi ch

    the employer would be required by law to pay.")          (copy attached

    in Addendum).        Similarly , the Wage and Hour Division ' s


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    enforcement practices provide further support for the principle

    that an employer may not take credit for expenses it is lawfully

    required to bear .    See Soler v . G&U, Inc . and Secretary of

    Labor, 768 F . Supp. 452 , 462 (S . D. N. Y. 1991)   (on remand from the

    Second Circuit, u phold i ng Wage and Hour ' s refusal to allow any

    credit for the va l ue of heating fuel provided to the workers ,

    because state law required that the fuel or power necessary to

    heat a room to 68 degrees "shall be provided free of charge t o

    the occupants").

          4.   Therefore , the Department's c l ear and longstanding

    position is that an employer may not take a section 3(m) credit

    for payments that it is required by law to make.         Specifically,

    because an employer is not permitted to operate its business in

    violation of the law , expenses imposed on the employer by law

    must be viewed as business expenses that are primarily for the

    benefit of the employer .    This interpretation of section 3(m) is

    entitled to deference, as t h e Department is the agency charged

    with administering and enforcing the FLSA and the interpre ta tion

    is a reasonable one.     See Skidmore v . Swift & Co ., 323 U.S. at

    140 (the Administrator ' s FLSA interpretations "constitute a body

   'of experience and informed judgment to which courts ~nd

    litigants may properly resort for guidance"); see also Federal

    Express Corp . v . Holowecki, 552 U. S . 389 , 399 (2008); Resias

    Polycarpe, et al . v. E&S Landscaping Service, Inc., et al .,


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    F.3d         2010 WL 3398825, at *7      (11th Cir. 2010)   (giving

    deference to the Department ' s FLSA interpretation set forth in

    an amicus brief and opinion letter); Bonilla v. Baker Concrete

    Construction, Inc. , 487 F.3d 1340 1342-43 (11th Cir . 2007)

    (giving deference to the Department ' s interpretive statements);

    Morante-Navarro v . T&Y Pine Straw, Inc ., 350 F.3d 1163, 1169-70

    (11th Cir. 2003).

           5.   The Secretary's analysis is fully consistent with, and

    does not in any way diminish , section 3(m) ' s allowance for a

    credit for lodging .    But , as explained supra , that allowance

    must ultimately be viewed in the context of a "primary benefit"

    analysis.     The district court here erred when it failed to

    recognize that , while section 3(rn) creates a presumption that

    the employee is the primary beneficiary of employer-provided

    lodging, the presumption can be rebutted.          As the Second Circuit

    stated in Soler, 833 F . 2d at 1109, although section 3{m) creates

    a presumption that housing facilities ordinarily should be

    included in an employee ' s regular rate of pay , an exception to

    this presumption exists in special circumstances where the

    facilities are primarily for the benefit or convenience of the

    employer under 29 C. F.R. 531.3{d) (1).       The_court in Soler

    recognized that special circumstances may exist , for example,

    where lodging is of little benefit to an employee, such as when

    an employer requires an employee to live on-site to meet a


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    particular need of the employer, or when an employee is required

    to be on call at the employer's behest.             However, "[r]ecourse to

    the Regulation's protection is best left to the Administrator's

    judgment based on the facts of particu1ar cases submitted to

    him."     Id. at 1110.    Where the statutory presumption is

    rebutted, "the Administrator is empowered to find that the cost

    of on-site housing is not reasonable, and therefore may not be

    subsumed with i n an employee's wage."        Id.     By contrast, the

    district court here concluded that Bland was entitled to credit

    under section 3(m) simply because the housing was customarily

    furnished .    See Ramos-Barrientos, 2010 WL 2521041 , at *5 .

            Numerous other courts have applied the general principle

    that section 3(m) creates only a rebuttable presumption and ,

    finding the presumption rebutted, have disallowed a housing

    credit under section 3(m) .       For   ex~mple,    courts have found the

    presumption rebutted where, due to the nature of an employee's

    job duties , the lodging was primarily for the benefit of the

    employer.     See Masters v. Maryland Management Co., 493 F.2d

    1329, 1333-34 (4th Cir. 1974)       (housing provided to employee of

    apartment management company who resided on the premises to be

    on call for up to 24 hours a day was primarily for the benefit

    of the employer); Jiao v. Shi Ya Chen, 2007 WL 4944767, at **13-

    14 (S . D. N. Y. 2007)   (presumption that section 3 (m) credit should

    be allowed for lodging was rebutted where it was primarily for


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    the benefit of the emp l oyer because the emp l oyee was required to

    live at the hote l to assist guests through the night) : Marshall

    v. DeBord, 1978 WL 1705, at **5-6 (E.D. Okla . 1978) (housing was

    primarily for the benefit of the employer because the employees

    were required to live at the nursing home and be available 24

    hours a day and, therefore, no credit was allowed); and Bailey

    v . Pilots' Ass ' n for the Bay and River Delaware, 406 F . Supp .

    1302 , 1305 (E .D. Pa. 1976 )   (housing was primarily for the

    benefit of the employer because the employee was required to

    remain on board the pilot boat for seven days at a time) ; cf.

    Marshall v. Truman Arnold Distributing Co. , 640 F . 2d 906, 909

    (8th Cir . 1981)   (utilizing a primary benefit analysis, but

    concluding under the particular facts presented that the housing

    was primarily for the benefit of the employees where it was the

    result of voluntary contractual negotiations between the

    parties , even though gas stations received some benefit because

    the employees ' presence deterred crime and vandalism) .

          Courts also have refused to allow any credit for lodging

    where t he housing was substandard or otherwise in violation of

    the law .   See Chellen v . John Pickle Co., In c. , 446 F. Supp . 2d

    1 247 , 1279 (N.D . Okla . 2006)   (no section 3(m) l odging credit

    allowed for housing that is "seriously substandard"); Archie v.

    Grand Central Partnership, Inc. , 86 F. Supp. 2d 262 , 270

    (S.D.N.Y. 2000)    (no credit allowed for lodging furnished in


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    violation of state law); Castillo v . Case Farms of Ohio, Inc. ,

    96 F. Supp. 2d 578, 637-40 (W.O. Tex. 1999)        (no credit allowed

    for housing that is seriously substa ndard or provided in

    violation of law) ; Soler v . G&U, Inc. , 768 F. Supp . at 465-55

    (no credit allowed where migrant farm workers' camp was operated

    in violation of its state permit due to overcrowding) ; Strong v .

    Williams, 1980 WL 8134, at *5 (M . D. Fla. 1980)      (no credit

    allowed for housing provided to migrant farm workers in

    violation of state law); see also Leach v. Johnston , 812 F.

    Supp . 1198, 1213 (M.D . Fla . 1992)     (no credit allowed for

    alcoholic beverages provided to employees in violation of state

    law).    Thus , although section 3(m) specifically r efers to

    "lodging," it should be construed to establish a presumption

    that an employer may take credit for housing in ordinary

    circumstances , but that such presumption may be rebutted.

            Indeed, decisions of this Court are consistent with the

    conclusion that section 3(m) creates only a rebuttable

    presumption.     For example , in Davis Brothers, Inc . v. Donovan ,

    700 F.2d 1 368 (11th Cir. 1983), the Court discussed approvingly

    cases where credit had been disallowed for food or lodging.

    Citing cases that involved \'grossly inadequate facilities for

    which employers sought excessive credit ," this Court concluded,

    "[a]s one might expect, the court denied the employer any

    credit ."    rd. at 1371.   Similarly, in Arriaga, 305 F.3d at 1241


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    n.16,    this Court cited with approval two of the cases listed

    supra (Masters and Bailey), which held that lodging was not

    includable as wages because it was primarily for the benefi t and

    convenience of the employer.

            6.   Allowing a contrary resu lt would effectively negate the

    H-2A requirement to furnish housing free of charge a nd diminish

    the employees' entitlements under that law.           Moreover , such a

    result would be in tension with section 18(a) of the FLSA , which

    provides that nothing in the FLSA "shall excuse noncompliance

    with any Federal or State law or municipal ordi n ance

    establish i ng a min imum wage higher than the min imum wage

    established under this chapter . "       29 U.S . C . 218(a).   As the

    district court concluded in Soler , when deferring to the Wage

    and Hour Administrator's interpretation with regard to a state

    law requiring _that heating fuel "shall be provided free o f

    charge," such a law effectively establishes a higher minimum

    wage than the FLSA.      Although normally section 3(rn) would allow

    an employer credit for heating f uel provided for the e mp loyee ' s

    personal use, see 29 C . F.R . 531 . 32(a) , under section 18(a) the

    conflict with the normal rule must be res olved by requiring the

    employer to . comply with the higher      mini~um   wage.   See 768 F.

    Supp . at 462 -63.




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                                      CONCLUSION

          For the foregoing reasons,    the Secretary requests that this

    Court reverse the district court and hold that an H- 2A employer

    may not take credit toward the FLSA minimum wage for the cost of

    the housing that it is required to furnish to its employees free

    of charge , because such expenses are primarily for the benefit

    of the H- 2A employer.



                                Respectfu lly submitted ,

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                                   CERTIFICATE OF COMPLIANCE



           This Brief complies with the length limitation set forth in

    Federal Rules o f Appellate Procedure 35(b) (2) and 40(b ) because

    it does not exceed 7,000 words (excluding the parts of the Brief

    exempted by Federal Rule of Appe l late Procedure

    32 (a ) (7) (8) (i i i ) ) .

           This Brief also complies with the typeface and type-style

    requirements of Federal Rule of Appellate Procedure 32(a) (5) and

    32(a) (6) .      This Brief was prepared using Microsoft Office Word

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                               CERT I FICATE OF SERVICE



          I hereby certify that on October 13, 2010, a copy of the

    Brief for the Secretary Of Labor as Amicus Curiae in Support of

    Plaintiffs - Appe l lants was filed with the Clerk of t he Court by

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         Appeal No. 10-13412 - CC
         Eleventh Circuit Court of Appea l s
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         Atlanta , Georgia 30303

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                        ADDENDUM
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         Rev . 563             FIELD OPERAnONS HANDBOOK     w   12/9/88          30c - 30c02


        30c      PAYMENT OF \lACES

        30cOO    Method of payment .

          (a)    \1a&es. &&y take the for. of cash or faci1itie. as defined in Reg 531 . An
                 employer who cla1a$ furnished facilitie. (.eal. , lodging, or oth.r) &s vage.
                 INSt a.a1.ntain the records requ1nd ib Reg 5lfi. 27.

          (b)   The pay.ent of v.ges through direct deposit into an employee'. b.nk .ccount
                is an .cceptable aethod of pa,..nt, provided .-ployees h.ve the option of
                receiving pay.ent: by cash or check directly froa the employer . As an
                alternative, the eaployer . .y .ate arrange. .nes for employees to c.sh a
                check drawn agatnst: the employer'. payroll deposit: account, if it is at •
                pl.ce convenient to their .mploy.ent and without charge to them .

        30cOI    -b eili t!"'· furnished under Sec 3(g>'

          (a)   Section 3(.) of FUA penaiu: an .-player, under conditions specified in Reg
                531, to count toward its MV obIi.atiOn, the *rea.onahle co.t* of furnishibi
                board , lodging, or other facilities which are ~t~rily furnished to
                .-ployaes. Sec 3 (.) also authorize. the Secretary to determi ne the -fair
                value· of the board, lodging, or other f.cilitie. based upon .verage cost to
                the e~loyer or to groups of employers st.il.rly situated. or on the average
                value to groups of employees . Wh.r. ·re.sonabl. cost* under Sec 3(.) has
                been established by an employer .nd app.ars to be excessive in relation to
                the f.cilities furnished, it viII be necessary to &scertain whether the
                -f.ir value* of the facilities in question is lover than the *reasonable
                coat* . If so , the employer !lUSt use the ·fair value- rather than the
                *reasonable cost- in determining its vage obligation . In no case viII the
                *fair value* be utilized where it is greater than the - reasonable cost*.

          (b)   The cost of board, lodging , or other facilities shall not be included as
                vages to the extent excluded therefrOD under the te~ of a bona fide
                collective bargaining a&raoment applicable to che particular employee . In
                DOst cues, a determination whether such an exclusion exists will be based
                upon che written provisions of ·the collective bar!ainlng agreement.

         (c)    Eslployeu.wt receive che benefit of the facility for which the employer is
                t aking. vale credit . Moreover, the reasonable cost to the e.ployer of
                furnishinl board , lodging, or other faciliiies (or the fair value thereof)
                must be includad in the employee's RIR of pay for the purpose of computing
                OT pay .
       30c02    Customarily furn ished .

         (a)    The reasonable cost    of board, lodging , or other facilities aay be ' considered
                .s part of the wage    paid an employee only where ·customarily furnished- to
                the employee . This    requirement is •• tisfied If either the fac i lities are
                furnished regularly    by the employer to its employees or if
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            db. S&De or similar facilieie. are cu.eoaarily furnished hy other employer.
            auca,ed in Cbe S&De or siailar trade , business, or occupation in the sa.e or
            st.ilar communiti... Hovever , -custoaarily furnished- dots not require
            .stahli.hing an industry-vide practice vich re,ard ~o char,.s beine . .de for
            facilitia • . furnished to employ•••.
      (b)   Facilitie. furnished in violation of cy Federal , Seate , or local law,
            ordinaace, or prohibition viII DOt be c~idered facilitie. custoaarily
            funU.sbed, Ce.,. housin& that ha. been denied an occupancy pentit , or which,
            aft.r inspection, results in KSPA/QQls) . Any qua.tion .. to vbether
            facilities are furnished in violation of aay lay sbould be referred to the
            AA/OPO for resolution.    Any.uch ref.rr.I should include a detailed
            d.i.scusdon of the facts and. a copy of th. applicable lav .

    30c03   Pri14ri1y for the benefit of the employe• .

      Ca)   The credieing by an eaployer of facilities furnished to employ.es as va,es
            viII depend on whether .uch facilities are furni.hed prt.arily for the
            benefit: or convenience of the ... loyee. as deter.ined by 1lH. Vhere the
            prt.ary benefit of such faci1itia. i. to the employer's business interest ,
            credit viII be denied . the follovinc ara co.aonly viewed a. furnished
            pr~rily for the benefit or convenience of employees:


            (1)   IIuh
                  ~.ls  furnished by the employer are recarded as primarily for the
                  benefit and convenience of the ..,loyees . This rule does not apply,
                  hovever. eo dw .eal expenses incurred by an employee while traveline
                  avay fro. home on the .aployer's business . CS.e 18 778 . 217(b)(3) . )
            (2)   Lodging

                  Lodcins , like .. ala , Is ordinarily considered for the benefit and
                   convenienee of the earployee. CirC1aStances . .y exis t , hovever, vbere
                  houainc is of lietle benefit to eaployees, as where an .-ployer
                  requires an .-ployee to live on the eaployer's preaises to •• et so.e
                  Deed of the .~loyer, or where the employee ~t travel away frOD bODe
                  to further the eaployer's business. In such eircUIIStances. the housint
                  ..,111 be considered .. primarily benefitilll the .-ployer. CNote : while
                  ie aay be to the employer's advanease to provide such faeilities at or
                  naar dbe vorksit., eoures h~ consistenely taken the view that the
                  e.ployer ..y take • vage credit vben the facilities are prtaarily for
                  the benefit or convenience of the caployee.)
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               (3)    Iransporution

                      a.   Transporut:ion furnbhed urployees between their hOlla. and work
                           (1.e. DOnul. d&i.ly home·to·vork cravel) vbere the travel ti.ac doe.
                           not consticu~ hour. worked i . ,enerally an ·other facility ."
                           However. transportation which is an incident of or necessary -to the
                           eaploy.ent is not an ·other facility . · (S•• FOH 30c13 relarding
                           tranaporeation of Di,rant and seasonal .p'iC1.Lltural vorkers .)

                     b.    Transporueion furnished for norul ho_ co work crave 1 frolll ..
                           voluneary assembly poine to a job slee and vice versa where ehe ttme
                           does noe consticute hour. of work an4 the tranaporcation is
                           prl.. rlly for the benefit of th. -.ployaes is an ·other facility . -
                           In contr.sc, travel co distant or remote job slc.s is noraally for
                           the eaployer's benefit and does DOt qualify •• an ·other facility."

                     c.    Cars furnished by an employer to employeas prilurily for the
                           personal transportation use of the ellllloye.. and not priaarlly for
                           coapeny business are -facIlities - for which a Va,. credit . .y be
                           clet-ed by tha employer. (Se. FOH 30cll reBarding de~tracors
                           uaed by autOllObile .alespersons.)

              (4)    MerchADdi se

                     Goods or .erchandi.e, such as clothing and appliances, .ay be
                     considered ·other facilities· under Sec 3(m) and Reg 531. Only the
                     actual cost to the employer (not neces sarily che retail cost) ..y be
                     taken a . a wage credit .

              (5) tuition exp.nses

                     Tuition furnished to an .-ploye. for courses or trainin, for the
                     individual's own personal benefit is a bona fide "facility" for which ..
                     vale credit . .y be taken , ynltll the training is related to aaployment
                     or is required to retain eJIPloyaent.

              (6) Cbild c.re

                     Child care facilities which are furnished by an .-ployer are bona fide
                     -fac111ti •• " for which a wale cradic . .y be taken .
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        Rev. 56J                  FIELD OPERATIONS HANDBOOK· 12/9/88


        JOel)    Deductions from     Vag"   of minant and seasonal agricultural YOrkers .

         (.)     Ibe reuonable cost or fair value of faciliti.s furnished. aigrant or
                 seasonal agricultural worker are Senerally creditable as vages . (However.
                 aee FOH lOcO).)   Examples of facilities for which des1u.ctions or credits are
                 ,en.rally per=is.ible include:

                 (1) !feals and beverag.. actually furnished to the vorker .

                 (2) Off·the-job insurance authorized by the worker.

                 (3)   Canteen articles purchased by the worker, but not cigarettes or
                       alcoholic beverases sold to ~e Yorker, if .uch sales are determined to
                       be unlawful by appropri.te local lav enforcement authorities. Apparent
                       violations of State or local licensing lavs should be referred promptly
                       to the appropriate enforceaent authority . ~ FOM 52.09, 53g03 .nd
                       54 : W·124.) Prior eo di.allowing a deduction or vage credit ba..d
                       upon action by a State or local au.thority cone.miDl illepl sales, the
                       . . tter should be discU$s.d through JRC procedures.

                 (4) Lodging used by a ~rker, iDeluding utility costs , unless tequired to
                     be provided free of charge pursuant to the employment contr.ct or
                     applicable lav. Hovever, no credit may be taken nor may any charge be
                     ....de where :

                       a.   workers are required to live on the premises as • condition of
                            earployraent or where for other reuons the hOUSing pri....rlly benefits
                            the employer rather than the e.ployee, or

                       b.   the housing bas been denied an occupancy permit because of failure
                            to meet substantive S & H standards as determined by an inspection
                            by any agency, or

                       c.    S & H viol.tions have been found for which KSPA CHP. are being
                             assessed or violations of .ubstantive S & H standards have been
                             found by OSHA, a State, or county .,ency. If the violations are
                             corrected, a charge . .y be . .de or a credit taken for such lodging
                            ·only during the period of c01Ipliance.

        (b)     ETA regulations require that vorkus placed pursuant. t.o a Job Service
                clearance order who are unable to return daily to their permanent residence
                .ust receive housin& as & terD and condition of their employment. Such
                yorkers (and accompanying f . . Uy ..aben) au.st receive housing at no cost. or
                public housing which .. ets the redaral .ud State .tans1&rcb (20 cn .
                6S3 . 50l(d)(2)(xv». Yhere it appear. that a deduction has been DAde or a
                va,. credit taken in apparent violation of ETA resulations •. the matter
                .hould be reviewed through J~c before dis.llowing the deduction or vage
                credit .
Case 1:14-cv-03074-CMA-KMT Document 199-4 Filed 07/10/15 USDC Colorado Page 41 of
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    Rev . 563              n£U)   OPERAl'lONS HANDAOOK - 12/9/88            JOcl) -2


      (c)    An allployar vbo aakas d.aductiona fro. the valeS of workers for board,
             10d,1n& or other facilities or who furnishes such faciliti.s to workers ..
             additioaa co vale. is required to . .inC&in ~cords substantiating the COSt
             of such faciliti.s in accordaaoe with   Re,   516.27 .

      Cd)   In Kanblll v. CIAssbpro S'mce A.. ociulan. Inc . , the Third Circuit
            affi:nNd the district court's ju.ct.p.Dt that .oney advancad to fara workers
            for transportation cost$ fra. Puerto lico to the .a1nlan4 VAS prt..rily for
            the benefit of the ,mployer and therefore could DOt be deducted frco. the
            workers' va,e. eo the extent it r.ducad the vales below the statutory
            a1.n1Jaua. The court s1ailarly upheld the district court's conclusion that
            FLSA prohibits the .-ploy,r fro. takiDi a vale cr.dit for facilities
            axclu.dad fro. vale. by the tllras of a labor ap'ecaent which is the
            fUDCtional aquival.nt of a collactiv.-bar,atnin& .gr.... nt. The V.S.
            Supre.e Court denied reviev. The Court of Appeals abo ruled that,
            racardla.. of the -..nner or .eehod by which dta -.ployar soUJht to pas. on
            eo ita e~loyae. certain rransport&tion costs, wbere the .ffect w.. to brins
            the vale rat, below the statutory atnL.ua , such practice vas unlawful .

      (e)   It is the \Ill post tion that no deduction that cue.; into the IN uy be . .de
            for tre.nsportaclon of Di&rant workers froa the point of hir' and ret:urn to
            that point . This is so ainc.. in virtually all situations the transportation
            is 'Prt-rily for the benefic of th. employer and transport&tion cos ts are an
            incident of and nacessary to the aaplo)'llent of Id,rant vorkers . Yhere an
            -.ploy.r advanc.s DOney to Di,rant workers eo cover transportation expens.s
            fro. the ))Oint of hire to A vorksite, t:h. ellplo,..r . .y not recoup such
            advanca. vbeu to do so reswe.; in a worker receivinA lass thAn the statutory
            HV'. Such rea.ains the ease even thoush the transport:ation costs so
            recovered are accumulated and subsequently returned to the worker at so.e
            spacified time ouring the seuon or upon the worker's return to the point of
            bire, after the individual has work.d a full season or . pecified portion
            thereof . Furth,r, s uch transportation co.ts . ., not be included as part of
            an *-floyer's cost of furai.binl board, lodging, or ocher facili~ie • .

     (f)    Fana labor contractors and acrtcultural associations oft.n provide daily
            transportation to both Dilrant and .... onal far.vorkers as an inte,ral 'Part
            of th.ir business of supplyinc a"ieultural workers to those who use clleir
            far. labor concr~ctin, s.rvices . A&ticultural employers also transport
            ebair own workers under s i cilar circumstances . Such daily transportaeion is
            provided to assure that sufficient workers viII be available at the required
            tiD. and place since the workers heins transported are needed to work upon
            perishable co-.odities . Their svailability tor eaploya.nt often depends
            upon b.in, 'Provided transportation. Vbere alternative transporcation 1.
            readily available which the worker. are per.itted to \U. (i. • . , penonal
            auto or carpool arrangeaancs' and where they knov the locat i on of the place
            vbare they are to vork , the reasonable cost to an ..ployer (or fair value .
            vbicbavir is less) in 'Providin, tr&nkporcation . .y be creditable towards
            veges .




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                In contrast, where furnishing    transportation to           workers is primarily for
                dbe benefit and convenience of   the employer. and           is necessary to and an
                incidant of the employa&nt. it   15 not considered           a facility within the
                meanina of section 3(m ). (See   Re& 531.32(a) and           (c) .) Accordingly, it is
                the ~ position that:

                (1) llhere the transporcation 15 an incident of and necessary to the
                    e~loyaene. it is for the benefit of the e~loyer and no deduction aay
                    be . .de for the transportation of .i&rant or seasonal farmworkers tbat
                    cuts into the MY . for example. transportation of migrant or seasonal
                    farmvorkers from the pickup point and return to tbat point, or from the
                    tecporary labor camp to the fields or for the return trip 15
                    transportation th~t is an incident of and necessary to the e=ployaent.

                (2) Vbere the tr~portation is not incidental to the employment. it is for
                    the worker's benefit and deductions ...y be . .de which cut into the MV,
                    provided that: if such transportaeion b subject to KSPA i t ...... t be
                    furnished in vehicles which .. et all substantive Federal and State
                    IIOtor v~icle safety and insuranc. standards. Transportation ¥bieh is
                    not incidental to the urployzaent: (and thus deduetibh) includes:

                    a.   the transportation of .igrant workers to conduct personal business,
                         such &$ trips froD the rural temporary labor camp to a laundry, post
                         office , and &roeery store, and

                    b.   the daily transportation of Di&rant and seasonal farmvorkers . where
                         alternative transporcation is readily available, which the workers
                         have the option to U$e, and they know where to report to work but
                         choose to use the employer's traD5portation, provided that the
                         transportation is not required to be furnished by lav or re&ulation .

       30cl4   Erpployell!s' taxes paid by employer   IIA)'   constitute .. ..,agu ...

         (a)   Pursuant to Re& 531.38, taxes which are &5sessed ag~inst an eaployee and
               which are collected by the employer and paid to the appropriate government
               agency . .y conatitute "vages·.

         (b)   The sUie pr1nc.1ple applies t o tues      which, a1thousb owed by the employee ,
               are paid by the -=ployer . Thus, an       employer -.y pay an employee's share of
               social securiey (FlCA ) taxes . Such      payment constitutes "wages" end may
               therefore be credited toward the MY       and OJ requirements.

               (1) \lhen an • ."loyee receives the MY of $3 . 35. t.he eaployer and the
                   employ •• ~t each .ake an FICA contribution of 24 cents ~n hour ($3 . 35
                   x . 0715 - . 2395) . (7.15 percent i. the current FICA rate which is, of
                   course, .ubj~ct to chang~ .)
      Case 1:14-cv-03074-CMA-KMT Document 199-4 Filed 07/10/15 USDC Colorado Page 43.rage
                                                                                      of l or j
                                             50
          Westlaw.
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           1997 WL 998029 (DOL WAGE-HOUR)

                                                        Wage and Hour Division
                                                   United States Department of Labor

                                            Opinion LetterFair Labor Standards Act (FLSA)

                                                            August 19, 1997

          •••
          This is in further response to your inquiry concerning the application of the minimum wage requirements of the
          Fair Labor Standards Act (FLSA) to the employment of an au pair child care worker. An au pair is subject to
          the Exchange Vis itor Program regu lations, 22 CFR §514, of the U.S. Information Agency (USIA).

          You have petitioned the Wage and Hour Division pursuant to 29 eFR §531.4 and seek credit against the FLSA
          minimum wage requirement for the cost of educational expenses, two weeks paid vacation, and credit fo r the
          "personal" use of the family automobile by the au pair. For the reasons discussed below, it is our opinion that an
          QU pair employer may DQ1 take credit in meeting its minimum wage ob ligations for any of the three items.


          EDUCATIONAL EXPENSES
          Although the Depanment has previously ruled that the cost of tuition may be credited against the mInimum
          wage under certain circumstances, the Department has specifically ruled in a February 28, 1997 opi nion that an
          QU pair employer may not take credit for educational expenses. Credit for facilities under 29 CFR §531.32 is
          conditioned by 29 CFR §53 1.30, which requires that the employee's acceptance of such facilities be voluntary
          and uncoerced. Section 531.32 was thus not intended to address situations where an employer is required, as a
          condition of participation in a federal program, to provide the employee the faci lity for which the employer
          wants to take credit. In the present situation, an au pair employer is required by USIA regulations at 22 CFR
          §5J4.31(k) to pay for an employee's tuition. Therefore, an au pair employer may not take credit for tuition pay-
          ments. A copy of the February 28, 1997 ruling with a more detailed discussion is enclosed for your infonnation.

          PAID VACATlON
          As stated in 29 CFR §531.29, the legislative history of section 3(m) of the FLSA, which pennits an employer to
          take credit against the minimum wage for board, lodging or other facilities customarily furnished to the employ-
          ee, "clearly indicale[s] (hal (it] was intended to apply to all facilities furnished by the employer as comoensation
          to the employee ..." emphasis added. Consistent with section 7(eX2) of the FLSA, the Department's regulations
          at 29 CFR §778.2 16 and §778.2l8 provide that payments made for occasional periods when no work is per-
          fonned , such as those for vacation, caMot be considered compensation. Since such payments for hours not
          worked are not compensation, they cannot be "other facilities" for purposes of the FLSA. Thus, an au pair em-
          ployer may not take credit against the minimum wage for two weeks paid vacation. We note that, in any event, a
          cash payment is not a "facility." Even if a paid vacation were considered "other facilities," as discussed above,
          an employer may not take credit for facilities which the employer is required by law or regulation to provkle.
          Since a two-week paid vacation is specifically required by USIA regulations at 22 CFR §514 .31UX4), no deduc-




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          tion or cred it against the min imum wage would be permissible.

          USE OF AUTOMOBILE
          The Depanment has consistently ruled that an employer may not take cred it for the personal use of an auto-
          mobile where such automobile is incident of and necessary to the employment. This view was clearly approved
          by the court in Brennan Yo. Modern Chevro let!&... 363 F. Supp. 327 (N .D. Tex . 1973), lffii. 49 1 F.2d 127 1 (5th
          Cir. 1975), in which a company automobile used by a car salesman was found not to be a facility, and therefore
          credit for its cost cou ld not be taken to meet the minimum wage, despite the fact that 90% of the car's use by the
          salesman was personal. In the present case, the au pair employer is required by 22 CFR §531.4{k) to "facilitate
          the enrollment and attendance of the au pair" in an accredited post-secondary institution. If the au pair uses Ihe
          automobile, e ven occasionally, to attend such institution or to transport the child being provided care for any
          reason, credit for the automobile's use, whether personal or work-related, is inappropriate. A copy of the Modern
          Chevrolet decisioo with a more detailed discussion is enclosed for your information.

          HOURS PER WEEK

          You also inquire about the amount of me stipend an au pair employer must pay in situations where the au pair
          works less than the maximum 45 hours per week. The FLSA only requires payment of the minimum wage for
          hours worked. However, the Department has no authority to lower the amount of the minimum stipend where
          the au pair works less than the maximum. USIA regulations assume that, without a specified maximum limit, an
          au pair would work more than 45 hours per week. This assumption is reflected in US IA regulations at 22 CFR
          §514.31(bX2) and §5 14.31GXI), which require, respectively, that an au pair work no more than 45 hours per
          week and that an au pair be provided a stipend of not less than $\15.00 per week (which reflects the minimum
          wage times 45 hours, minus deductions). You should direct your inquiry regarding this 45-hour issue to the
          USIA, as the Department of Labor has no involvement with these regulatory provisions.

          We trust that the above is responsive to your inquiry.

          Sincerely,
          Dani el F. Sweeney
          Office of Enforcement Pol icy Fair Labor Standards Team

          Enclosures

          1997 WL 998029 (DOL WAGE-HOUR)
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                             ILllasJ Texo.~ 75230



                             ~.i::; is ill r >:J!l~' to your l etter dated Decer.lb~r             28J 197~ , asking bo\.'
                             ovcrt:.i.l:...e c".~!Jcnsatio:l should be co::puted for an ct:1ployee under the
                             Fab' Ltlbo:·: Stl:l.::Ids rds Act -..;oo::re State 18w provides 0 different besis
                             [ 0;- vcl~tin ~; bo:! r:1, 10:\::;111::; or other iacili ties provide::! e::.ployeec
                             b;,' th e f."::.pl u:,Lr . \0;<..: r e.:,rct U~5t t n(:' volU!:.e of co!'re!:¥ ~ :dence r eceiv ed
                             it! cOfJll ectio~ ~;itb. u~~ 1974 Arnend.!!lents to t he Act did not per:uit . us to
                             r espocd &c;:':Jt. r.

                             You            in<.Hc .:.d,~   t:,~t
                                                              the s t !.:-i..t: or Cnli fo rnia Industrial. Welfare CO:unlls6ion t s
                             ;·~in lrou:n WI;~'! v!'der Ho ~ l_ '{ll Secti(\:l 4 stEites ..hen apartments are furniGhed
                             b~- the (:; ::'..):.l:>.ye::.' co pert of the mini!!lU.!D. "'age they llmay not he evaluated in
                             cx:ce&!' 0 [:' n 'o-'{;Qirds of t.he ordinary rental value and in no case more
                             thc.;i $lh0 r ·..::!' month (:j:.210 p .~l' month where a couple Gre b oth e~ployed by
                             'the (:oploy~::.· ). 1"urthcr.!!ol: e, "ii', as e. condition of employ:Jent, t he
                             c::lploye[> u:!l S t. 11 ve at the place of elllployc.ent or . occupy quarters owned
                            ·or \mdr:r t.he control 01' t.oe eil!.ployer, then the employer may not charge
                             r ent in excess of the .value l icted herein".

                             You es}, us t.o essume that art employee i6 paid for a 4o..hoUJ' "Week $84 . 00
                             cash p l uG aD op3rtment l;'hich r ents for $400 per: month ($92. 31 per "W e ek)_
                             You ask U5 to essume further that $92.31 per "\leek i6 the "reeso!!~b1e
                             cost" or "foir value" of ·the "facility as defined in 29 C}i'R Part 531.
                             Under such ci:rclL'ilF.:tal1ccs, the State of California's Division of Industrial
                             llelfore rules t hnt the r entcl value cannot exceed $32.31 per ~ee~ ($140
                             per !tontb ).. Further u,ore , if an employe r shows on his records that the
                             employee(s) r entel value is $92 . 31 per "Week be "Would r un the risk. of
                             having officials of the Division of Industrial Welfare conclude that he
                             ""ed the ereployee $60 per "eek in bock. wege. ($92.31 minus $32 . 31) •
•
                             In the c ase you describe, the reasonable cost or fair value, as defined
1                            in 29 eFR Plirt 531, of the apartment furni shed the employee "Would b e
I                            considered a part of the elllployee' s w~ es end included in the employee' G
                             r egular r ate of pcy for th~ p\ur;pDses of computing overtime compensation
I                            lL'lder t he Fair Labor Standards Act._ \o."'here State 18~ is .1n conflict
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                   tb c' yrc.t.:tt·r CO:!ll ·(;rl r::It.ic..J tC' tilt' Cr.(IJloy~~e vill prevail . Tne State 10\1
                   11I:\i1. ~~ nt. tilt: r c-utvJ. vlllu(.. 1.(. $32 . 31 per \~eek. "W111 govern in computing
                   tb u \lll.( c.: f eT r. ~i l~imultl \lflC~ purf'OZ~G . Ho:r,u::"ver, . in computing the eaployee's
                   r egul!!l' rot e ot }.lay 1:or ove%"'l>1tlc purpoftes, ",hici! 16 not covered. by Stete
                   1 o,,', tl ~C J" c[Jc~"au l("j cost 01' f&1r volue of the eportraent \1111 govern .
                   nt.:f.l90; Je.ulc cost., of c mlrfl ~ ; i s ordinarily .lc:wcr t..~en the }"ent[;l price
                   ()inC;.c it doeG not il1cll1d. ~ 6.u oh itemo as prof1t.

                   Sincerely,


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               Mr. Lee G. Warnm                              .I
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               Jisna.ger of AdmtniEtration
               Tennessee Ea.stman Corporation
               Cl.itrt.on Er;p.neer Worla:
               Knoxville S, Ternessee

               Dear   l~r.   Warren,

                          The Secretary of Labor haa asked. me to reply to
               )'Our letter of september 25, 1945,. e.sking ?mether deduc-
               tions for a hospitcUizntion prepayment pan are penni8e.1ble
               um.er the Iialsh-HAe.ley Act wherE such Qjductions reduce em-
               ployee compensation below the minimum required by the act.

                          You etate that the deductions ". .ill be voluntad1y
               consented to by employees and th5t no part. of the funds de-
               ducted will accrue to the benefit of the emplo~r. You alBo
               .tate that the operatum or the h>spital. will b. performed
               by an entity distinct from your organization, but that
               representatives of the noperating contr&etors" rill be 1Ilen-
               'P6rs of tIE board of directors of the hosp1tel..

                          You rill note tI"CC! the enoloeed copy of &.1925
               that the 811111e stame.rds apply to detemi.ne lfn,ther deduc-
               ti.ons are pennissible urxier the iialsh-Healey Act 6.S uTlier
               the Fair Labor Ste.n:lards Act. Inasmuch as ,our letter does
               not go into much detail, it is not possible to give e.
               defini:te &JlSWer to your inquiry.

                           If no representative of your company or any affiliate
               tbereof is 5. member of the hospital's board. of' directors, en:1
               the oospital if! not othel'Y11se affiliatee ....1.th your canpany, the
               deduct.ion ma.:r be treated as 8.Saigllllent of e part of the em.-
               plo:y-ee~' w&.ges. A voluntary assignment is penniss1ble ur¥ier
               the act provided that neither the empl.oyer Plr any person acting
               in his beha.l.i or int~l"E'<st directly or irdirectly derives any
               profit or benefit from tho tr&ns~tion. In this cormect1on the
               employer will be deeced to have received a benefit if the deduc-
               tion is used to pay :for bospite1ization :for Yihich the employer
               woul.<i be required by law to pay.
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                to'r. Lee G. Warrer.                                         Page 2


                              If the hospital t.nd ll\edicc.l services are supplied bJ'
                an ei1'ili.ete of the employer End are supplied 8.t -reasonable cost"
                (85 defined in Regulations. Part 531, UlJier the Fair I.abor stand-
                ards Act) J md the deduction J!leets the further tests that it is
                for E "facility' aal the facillty 18 one 'Which i~ -customarlly
                furnished by such emplo~r to his emp+o~efiJ" ded.uctions therefor
                may be made Without regard to the extent .by which the amplo)'Be t f,
                cash wage 1s reduo.,o. If the deduction is otherwise permissible
                but exceeds -reasonable oost," the deduction is not pel1lliss1ble to
                the extent tha.t the Eount in excesE.: of -reD.80T\8.ble co5t" recluces
                the employeo' s compensation below the required miflimwo. wage or
                reduces his overtime compensation. Similarly, i f the deduction
                i~ tor an item not included in the phrase "board, lodging or other
                f'acl1ttyft or if the deduction is not for e. facility which has been
                customarily furnished" it is pemissible only ineci'ar 8.8 it does
                not cut into the reqllired minimum wage ard does not reduoe the
                employee's overtime compensation.

                    .     It 1s my view that hospitalization i8 a facility
                excert to the extent that the '9mployee may pay for hospital
                or medical c are which the employer may be required to proVide
                or to c om?ensate the employes for. Your atter does not 1001-
                cate whether the facilities are to be provided at -reasonable
                cost." I III'\. therefore enclosing a copy of Regulatio06" Part
                531" from lIhich you can ascerisi.."'l the proper metlxxl of conq:nting
                -reasooable cost. ft Likewise" your letter doe s not indicate
                whether such hospitalization bas been custo.'tIarily furnished
                by ~ur company or other employers in eimile.r circumetances.

                           I regret that I an not able to g1. ve :you a more cate-
                gorical answer to your question. By applying the principles
                discussed above, you shouJd be able to deter.n.1ne the penniesi-
                Milt,. of' the deductiol18. If)'Ou have ;further questions" I shall
                be glad to assiet you.

                                                    Very trol.y yours,



                                                     Yin. R. McOomb
                                                     Deputy Administrator



                En: losures
